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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   CRIMINAL NO. 21-CR-376 (RDM)
                                                  :
              v.                                  :
                                                  :
 RYAN SETH SULESKI,                               :   VIOLATIONS:
                                                  :   18 U.S.C. § 1752(a)(1)
                                                  :   (Entering and Remaining in a Restricted
                       Defendant.                 :   Building or Grounds)
                                                  :   18 U.S.C. § 641
                                                  :   (Theft of Government Property)


                                    INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, Ryan Seth Suleski did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))


                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, Ryan Seth Suleski did

embezzle, steal, purloin, knowingly convert to his use and the use of another, and without

authority, sold, conveyed, and disposed of any record, voucher, money, and thing of value of the
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United States and any department and agency thereof, that is, papers, which have a value of less

than $1000.

       (Theft of Government Property, in violation of Title 18, United States Code, Section
       641)

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                    By:     /s/ Kimberley C. Nielsen
                                            Assistant United States Attorney
                                            N.Y. Bar No. 4034138




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